 8:10-cr-00273-JFB-MDN            Doc # 38   Filed: 10/06/10   Page 1 of 1 - Page ID # 69




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )
                     Plaintiff,                   )            8:10CR273
                                                  )
       vs.                                        )             ORDER
                                                  )
ALAN VOLNER,                                      )
                                                  )
                     Defendant.                   )



       This matter is before the court on the motion of defendant Alan Volner (Volner) for a
release upon recognizance (Filing No. 37). After reviewing the motion and a Release
Proposal Investigation by Pretrial Services, the motion for release (Filing No. 37) will be
granted. This order will become effective upon Volner executing a Consent to Modify the
conditions of release as prepared by his Pretrial Services supervising officer.


       IT IS SO ORDERED.


       DATED this 6th day of October, 2010.


                                                  BY THE COURT:


                                                  s/Thomas D. Thalken
                                                  United States Magistrate Judge
